Case 18-14722 DOC 43 Fi|eCl 10/24/18 Page 1 Of4

UN|TED STATES BANKRUPTCY COURT

 

DlSTR|CT OF MAR¥LAND
GREENBELT DlVlSlON
|N RE: BCN#: 18-14722
ESTHER P AK|NY| A/K/A ESTHER
GARNER A/K/A ESTHER PEREZ AK\NY|- Chapter: 7
GARNER
Debtor

U.S. BANK NATIONAL ASSOC|AT|ON, AS
TRUSTEE FOR SPEC|ALTY
UNDERWR|T|NG AND RES|DENT|AL MOT|ON FOR ORDER GRANT|NG REL|EF
FINANCE TRUST IV|ORTGAGE LOAN FROM AUTOMAT|C STAY
ASSET-BACKED CERT|F|CATES, SER|ES
2006-BC1

and its assignees and/or
successors in interest,
N|ovant/Secured Creditor,
v.
ESTHER P AK|NY| AKA ESTHER GARNER
AKA ESTHER PEREZ AK|NY|-GARNER

Debtor

and

Steven H Greenfe|d
Trustee
Respondents

COl\/lES NOW, U.S. Bank Nationa| Association, as Trustee for SPEC|ALTY
UNDERVVR|T|NG AND RES|DENT|AL FINANCE TRUST l\/IORTGAGE LOAN ASSET-
BACKED CERT|F|CATES, SER|ES 2006-BC1, its assignees and/or successors in
interest, (|Vlovant herein), by Counse|, alleges as follows:

1. This Court has Jurisdiction over this proceeding pursuant to 28 U.S.C.
Sections 157 and 1334 and 11 U.S.C. 362; Federa| Ru|e of Bankruptcy Procedure
9014; and Loca| Bankruptcy Ru|e 4001-1(a), and that this matter is a core proceeding.

2. The above named Debtor(s) filed a Chapter 7 Petition in Bankruptcy with
this Court on April 10, 2018.

3. The l\/|ovant is the current payee of a promissory note secured by a

Purchase l\/|oney Deed of Trust upon a parcel of real property with the address of 18414

S&B# 18-277999

Case 18-14722 DOC 43 Fi|eCl 10/24/18 Page 2 Of 4

Hal|mark Ct, Gaithersburg, NlD 20879 and more particularly described in the Purchase
Money Deed of Trust dated September 7, 2005 and recorded at Book 30915 at Page
106, among the land records of the County of |V|ontgomery, Mary|and:

Lot numbered Seven (7) in Block lettered "V" in the subdivision known as

"PLAT 19, FLOWER HlLL" as per plat thereof duly recorded among the Land

Records of |V|ontgomery County, Mary|and in Plat Book 122 at Plat No.

14332.

Copies of the Note and Purchase |Vloney Deed of Trust are attached hereto,
marked as exhibits A & B and made a part hereof by reference.

4. This Movant is informed and believes, and based upon such information
and belief, alleges that title to the subject Property is currently vested in the name of the

Debtor(s).

5. As of October 15, 2018, the estimated outstanding obligations are:

 

 

 

 

 

 

 

 

 

 

 

 

Unpaid Principa| Ba|ance $ 289,755.15
Unpaid, Accrued interest $ 17,607.76
Unco|lected Late Charges $ 0.00
l\/|ortga@ insurance Premiums $ 0.00
Taxes and lnsurance Payments on behalf of Debtor $ 11,552.96
Other Costs $ 46,913.36
Less: Partia| Payments ($ 916.1 1)
lV|inimum Outstanding Obligations $ 364,913.12
6. The Debtor is in default with regard to payments which have become due

under the terms of the aforementioned note and Purchase l\/|oney Deed of Trust.

As of October 15, 2018, the Debtor is due for:

 

 

 

 

 

 

 

 

 

 

Number of From To N|onth|y Total Missed
lVlissed Payment Payments
Payments Amount
30 November1, 2015 April 1, 2018 $1.211.51 $36,345.30
6 |V|ay 1, 2018 October 1, 2018 $1,218.20 $7,309.20
Atty Fees and Costs: $931.00
Less partial payments (suspense balance): ($916.11)

 

 

Tota|Payments: $43,669.39

S&B# 18-277999

Case 18-14722 DOC 43 Fi|eCl 10/24/18 Page 3 Of 4

7. The Movant has elected to initiate foreclosure proceedings on the
Property with respect to the subject Purchase l\/ioney Deed of Trust, but is prevented by
the Automatic Stay from going fon/vard with these proceedings

8. This Movant is informed and believes, and based upon such information
and belief, alleges that absent this Court's Order allowing this Movant to proceed with
the pending foreclosure, l\/lovant‘s security will be significantly jeopardized and/or
destroyed.

9. Steven H Greenfe|d, has been appointed by this Court as the Chapter 7
Trustee in this instant Bankruptcy proceeding

10. This Movant is informed and believes and, based upon such information
and belief, alleges that the Debtor has little or no equity in the property.

WHEREFORE, Movant prays for an order granting relief from Automatic Stay,

and for such other relief as the Court deem proper.

Dated: October 24, 2018
SHAP|RO & BROWN, LLP
Attorneys for Movant

By; /s/ lVlalco|m B. Savaqe. lil
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S&B# 18~277999

Case 18-14722 DOC 43 Fi|eCl 10/24/18 Page 4 Of 4

10021 Bal|s Ford Road, Suite 200
Manassas, Virginia 20109
(703) 449-5800

ECF@Logs.com

Certiflcate of Service

l hereby certify that on the 24th clay of October, 2018, the following person(s) were served a
copy of the foregoing i\/iotion for Order for Reiief from Automatic Stay in the manner described

below:
Via ClVl/ECF Electronic Notice:

DIVl|TRY DAV|D BALANN|K
715 ROLLING FlELDS WAY
Rockvil|e, MD 20850

Steven H Greenfeld

Cohen, Balclinger & Greenfe|d, LLC
2600 Tower Oaks B|vd

Suite 103

Rockville, iVlD 20852

Via First Ciass Maii, Postage Prepaid:

Esther P Akinyi aka Esther Garner
aka Esther Perez Akinyi-Garner
18414 Ha||mark Ct

Gaithersburg, lVlD 20879

S&B# 18-2 77999

Debtor's Attorney

Trustee

Debtor

/s/ iVialco|m B. Savage, |||

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